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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 JANE DOE,                                     §
                                               §
                         Plaintiff,            §
                                               §                CAUSE OF ACTION:
 v.                                            §
                                               §                    1:22-cv-00299
 CITY OF AUSTIN, and WALTER                    §
 DODDS,                                        §
                                               §
                         Defendants.           §

                            PLAINTIFF’S ORIGINAL COMPLAINT

         Plaintiff Jane Doe brings this 42 U.S.C. § 1983 case against the City of Austin and Austin

Police Department Officer Walter Dodds for the sexual assault she experienced at the hands of

Officer Dodds.

                                            I. PARTIES

      1. Plaintiff Jane Doe is a resident of Travis County, Texas. Plaintiff files under a pseudonym

to protect her privacy and safety.

      2. Defendant City of Austin is a municipality that operates the Austin Police Department.

Defendant City of Austin may be served through its City Clerk at 301 W. 2nd Street, Austin, TX

78701. The City’s policymaker for policing matters was former Police Chief Brian Manley at the

time of the incident and is currently Chief Joseph Chacon.

      3. Defendant Officer Walter Tyson Dodds was at the time of this incident an Austin Police

Department officer and he is sued in his individual capacity for compensatory and punitive

damages. He can be served with process via his former employer at 715 E. 8th Street, Austin,

Texas 78701; via his attorneys, Douglas K. O’Connell at 505 West 12th Street, Suite 200, Austin,

Texas 78701 and Ken Ervin at 1301 Rio Grande St., Austin, Texas 78701; at his home in
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Lexington, Texas; or wherever he may be found. Officer Dodds was acting under color of law as

an Austin Police Department officer at all relevant times.

                                 II. JURISDICTION AND VENUE

   4. This Court has federal question jurisdiction over this 42 U.S.C. § 1983 action pursuant to

28 U.S.C. §§ 1331 and 1343.

   5. This Court has general personal jurisdiction over Defendant City of Austin as it is located

in Travis County, Texas and over Defendant Dodds as he resides in Lee County, Texas.

   6. This Court has specific in personam jurisdiction over Defendants because this case arises

out of conduct by Defendants that injured Plaintiff Jane Doe, and which occurred in Travis County,

Texas, which is within the Western District of Texas.

   7. Venue of this cause is proper in the Western District pursuant to 28 U.S.C. § 1391(b)

because a substantial portion of the events or omissions giving rise to Plaintiff’s claims occurred

in Travis County, which is within the Western District of Texas.

                                           III. FACTS

   A. Dodds’ attack on Doe

       8.      On April 18, 2020, Jane Doe and her boyfriend, A.G., had an argument during

which A.G. had a breakdown, put a belt around his throat, and tightened it to threaten suicide.

       9.      Doe yelled to her nephew to go get help.

       10.     Doe’s nephew went to his mother in a nearby apartment who called 911 to get help

from APD.

       11.     At approximately 6:13pm, Defendant Officer Walter Dodds, while on duty as an

Austin Police Officer, responded and arrived on scene.

       12.     Officer Dodds conducted interviews with Jane Doe and A.G.




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       13.     Officer Dodds determined that A.G. was a danger to himself and needed to be

placed under an emergency detention.

       14.     Austin Emergency Medical Services (EMS) arrived on scene and determined that

A.G. would need to be transported to the hospital.

       15.     During Officer Dodds’ interview with Doe, he asked for her phone number and told

her that he would be calling her to tell her where A.G. was being taken.

       16.     At the end of the interview, Officer Dodds asked Doe about locking the door to her

apartment.

       17.     Officer Dodds said, “What if someone sneaks in there? You don’t want to be

sleeping with some dude in there with you.”

       18.     Officer Dodds then accompanied A.G. to the hospital and completed the required

documentation for A.G.’s emergency detention.

       19.     Then at 6:54pm, Officer Dodds called Doe from his APD-issued cell phone.

       20.     Officer Dodds started the call by telling Doe which hospital A.G. had been taken

to, but then began to ask if he could come over. Doe did not give consent for Officer Dodds to

come to her home.

       21.     Officer Dodds then asked her if Doe would take off his uniform for him and again

if he could come over. Again, Doe did not consent to allow the officer into her apartment or to

take off his uniform. Doe ended the call.

       22.     Officer Dodds called Doe four more times from the same APD-issued cell phone

between 6:54pm and 9:09pm, but Doe did not pick up any of these calls.

       23.     After 9:09pm, Doe fell asleep in her bedroom alone.




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       24.     Sometime after Doe fell asleep, Officer Dodds again went to Doe’s apartment and

knocked on the door.

       25.     Doe’s minor nephew opened the door and saw Officer Dodds in his full uniform,

including his gun and full duty belt.

       26.     Officer Dodds walked by Doe’s nephew, directly into Doe’s bedroom, and shut the

door behind him.

       27.     Doe awoke to Officer Dodds in her bedroom penetrating her vagina with his penis.

       28.     Doe was shocked, frightened, and confused about what was going on and never

consented to any contact of any kind from Officer Dodds.

       29.     Officer Dodds then flipped her onto her stomach and forced his penis into her

vagina two more times.

       30.     Officer Dodds was not wearing a condom and ejaculated onto the fitted sheet on

her bed. Doe remained terrified.

       31.     That sheet was later tested for DNA evidence by APD. The DNA analysis

confirmed that Officer Dodds’ DNA was present on the sheet.

       32.     Over the next several days, Officer Dodds continued to call Doe and terrorize her.

       33.     On April 25, 2020, Officer Dodds called Doe, disguising his number.

       34.     Doe picked up the phone, recognized Dodds’ voice immediately, and heard him ask

who she was with and what she was doing.

       35.     Terrified, Doe answered that she was with her husband and hung up the phone.

       36.     On April 26, 2020, at approximately 5:30pm, Doe saw Officer Dodds drive by her

apartment complex in his police vehicle, slowly drove down the dead end of her parking lot, turned




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around and drove away. Doe’s nephew took a photo of the vehicle, which APD later confirmed

was Dodds’ assigned police car for that day.

       37.     On April 27, 2020, at 4:40pm, Dodds called Doe again, using *67 to hide his phone

number.

       38.     Officer Dodds again asked her what she was doing and if he could come over. Doe,

recording the call, repeatedly asked him to say his name, but Dodds only responded, “It’s me.”

       39.     On April 29, 2020, Doe called 911 to report the sexual assault by Officer Dodds.

       40.     Officer Walter Dodds was criminally indicted for Sexual Assault and Official

Oppression and was arrested on September 10, 2020.

   B. APD’s tolerance for sexual misconduct amongst its own ranks

       41.     Art Acevedo was the APD chief from 2007 until the end of 2016.

       42.     In May 2008, Acevedo fired APD Sergeant Dustin Lee, a 12-year veteran, for

sexual harassment of a coworker. However, APD later rescinded the termination. In 2019, Lee, by

then an APD Lieutenant who had been working in APD for 23 years, was arrested by Round Rock

Police for sexual assault of a child.

       43.     In 2014, APD officers Michael Castillo and Mark Lytle were caught on their body

worn cameras whistling at a woman walking by, mockingly suggesting she call the police, and

then warning her that the police cannot “unrape you.”

       44.     Despite the publicity, on information and belief, then-police chief Art Acevedo did

not seriously discipline Castillo or Lytle.

       45.     Also while chief, on information and belief, Acevedo dismissed allegations by his

subordinate female officers that male APD officers had assaulted them. While he was the




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policymaker for law enforcement in Austin, Acevedo allegedly said some of these allegations of

sexual violence by APD officers were just about “bad sex.”

        46.    On information and belief, during Acevedo’s tenure as chief, the sex crimes unit

maintained a wall with photos of people the unit had unilaterally determined to have submitted a

“false report” of sexual violence.

        47.    Acevedo was succeeded by Brian Manley, who served as chief from 2016 until

2021.

        48.    During Manley’s tenure, APD’s longstanding culture of sexual misconduct came

to the forefront of the public consciousness.

        49.    In December 2018, Manley terminated an APD commander, Jason Dusterhoft, for

allegedly beating his then-girlfriend, including by strangling her during sex.

        50.    Dusterhoft countered that Manley had intentionally used the sex crimes division to

pressure his ex-girlfriend into fabricating the allegations, pointing out that Manley himself

admitted the allegations were not credible.

        51.    Dusterhoft alleges, in an ongoing lawsuit, that he had personally alerted Manley to

a then-dire backlog in sexual assault kit testing—a backlog which was a source of enormous public

embarrassment for Manley and reinforced the belief that APD did not take allegations of sexual

assault seriously.

        52.    A 2020 report by Lisa Tatum, ordered by the City of Austin’s City Manager and

released the day before Dodds attacked Doe, found that APD retained a culture of sexism.

        53.    The Tatum report found that APD’s Senior Chaplain, Rick Randall, often makes

sexist comments.




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           54.    The Tatum investigation also received many reports from all across APD that sexist

name calling, and use of derogatory terms associated with sex, persist.



    C. APD’s longstanding failure to investigate sexual violence

           55.    A 2018 study, sponsored by the U.S. Department of Justice, found that APD only

made arrests in less than ten percent of sexual assault allegations during the year-long study period.

           56.    The percentage of arrests is even more abysmal for rape within the meaning of

public reporting requirements,1 and has been for at least the last ten years.

           57.    In 2011, out of 211 rapes reported to APD, APD made no arrests.

           58.    In 2012, out of 209 rapes reported to APD, APD made just 1 arrest.

           59.    In 2013, out of 217 rapes reported to APD, APD made no arrests.

           60.    In 2014, out of 5712 rapes reported to APD, APD only made 4 arrests.

           61.    In 2015, out of 487 rapes reported to APD, APD only made 2 arrests.

           62.    In 2016, out of 747 rapes reported to APD, APD only made 3 arrests.

           63.    In 2017, out of 834 rapes reported to APD, APD only made 9 arrests.

           64.    In 2018, out of 787 rapes reported to APD, APD made 89 arrests.

           65.    This is partly because the agency intentionally underfunded investigating sexual

assault.




1
  The Texas Penal Code does not use the term “rape,” but the State of Texas and City of Austin
often report the crime of “rape” when publishing statistics on crimes and arrests, as they rely upon
the FBI’s definition of the crime to organize their reporting.
2
  Prior to 2014, the FBI’s definition of “rape” was narrower, causing the number of reports and
arrests so classified to be lower. APD also underreported the number of reported rapes in 2014,
2015, and 2016.

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          66.     In 2020, APD assigned only 19 detectives to handle about 1,000 sexual violence

cases per year.

          67.     APD only had 17 sex crimes detectives in 2018, investigating 787 rapes. By

comparison, APD had 12 detectives assigned to investigate 32 murders in 2018.

          68.     Sexual violence is rarely prosecuted arising from a complaint to APD when

compared to other crimes such as murder, assault, and theft of an automobile. This fact was

reported to the Austin City Council in 2019.

          69.     Mayor Steve Adler remarked that the City of Austin has “far too many sexual

assaults that are resulting in too few perpetrators being taken off our streets.”

          70.     But APD is not just unskilled in investigating sexual violence; it instead chooses

not to press charges for the supermajority of those cases despite sufficient evidence to do so.

          71.     For years, APD affirmatively chose to close investigations without adequate

investigation. APD covered up its lack of investigations by “exceptionally clearing” about 2 of

every 3 rape cases that it closed during the years leading up to the attack on Doe. A case is only

supposed to be “exceptionally cleared” if there is an identified suspect, the suspect’s location is

known, and there is enough information to support an arrest, charge, or turning over the case to

the court for prosecution, but for some reason the case does not lead to an arrest, charge, or other

prosecution. That means that APD nonetheless did not arrest, charge, or turn over the case to the

court system a supermajority of rape cases even when they had enough evidence to do so.

          72.     Even worse, in an audit of late 2017 rape cases handled by APD, the Texas

Department of Public Safety determined that the Austin Police Department had wrongfully

“exceptionally cleared” nearly one-third of its exceptionally cleared rape cases during the audited

period.




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       73.     The Texas Department of Public Safety audit further confirmed that nearly half of

those wrongfully “exceptionally cleared” cases had “enough information to support an arrest,

charge, and turning over to the court for prosecution.”

       74.     APD Chief Manley agreed with nearly all of DPS’s findings, admitting the majority

of cases identified by DPS were closed improperly or should not have been closed at all.

       75.     But this intentional misclassification was not new information to APD’s

policymaker. On information and belief, APD’s former head of sex crimes, Elizabeth Donegan,

had internally complained about and resisted the practice for years.

       76.     Moreover, Donegan’s superiors within APD had pressured her to deliberately cover

up the department’s poor investigating success by improperly “exceptionally clearing” cases. After

she was pushed out of the department, the rate of “exceptional clearance” rose. Manley admitted

he had a “difference of opinion” with Donegan about this issue when he had her transferred.

       77.     Aside from Donegan’s prophetic complaints about “exceptional clearance,” she

also publicly warned that APD’s sexual assault investigations were not adequately thorough.

       78.     These mirror problems with APD’s investigation in specific incidents that have

been publicized.

       79.     For example, on information and belief, in the investigation of the sexual assault of

Hanna Senko from 2006, APD never visited the scene of the crime, never interviewed witnesses,

and decided to “exceptionally clear” the case before Senko’s blood test results even came back—

even though she reported her assailant had suspiciously had pills in his pocket before the attack.

       80.     In investigating an October 2008 sexual assault, on information and belief, APD

questioned the victim’s truthfulness, asked her about other men she had had sex with, and asked

her whether she had a boyfriend.




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       81.     To investigate the 2010 sexual assault of Julie Ann Nitsch, on information and

belief, APD failed to collect physical evidence including the cords the assailant used as a weapon,

broken locks, the glass door the assailant used to enter, or anything else that could be used to

identify the assailant. Instead, APD asked Nitsch how much she had to drink, what she had been

wearing, and why she lived in a bad neighborhood.

       82.     On December 24, 2014, on information and belief, Heather Sin was drugged at a

bar and sexually assaulted by several men. The next morning, Sin awoke at railroad tracks and

called the police. A physical exam confirmed many injuries including genital injuries consistent

with sexual assault. An APD detective later spoke to her and made clear that he did not believe

anything had happened to her and would wait on DNA results before investigating at all. After Sin

pressed for an explanation, APD suggested they were not pursuing the case because Sin had been

drinking. Sin’s case remained pending for at least 3 years.

       83.     On August 9, 2015, on information and belief, Marina Conner was sexually

assaulted. During the assault, Conner made a phone call that recorded her cries for help. Conner

spoke to an APD detective on the phone who promised to come meet her, but he never did. Conner

obtained a written confession from the assailant. Despite this evidence, APD decided not to pursue

the case.

       84.     On January 7, 2016, on information and belief, Anisha Ituah was sexually assaulted

by a patient at a state hospital. Her family called APD, but APD refused to dispatch anyone, so

APD never collected forensic evidence from Ituah. APD’s detective also complained to Ituah that

he had a huge case load of over 300 rape victims and he cannot get every case done. The detective

also blamed Ituah for her own assault and suggested he would not investigate. Travis County later

told her family that APD was not pursuing the case.




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       85.     Even more alarming is APD’s response to a series of sexual violence that Amanda

Day reported to APD. In 2018, on information and belief, APD told her that it would not investigate

because she had previously consented to “kissing and stuff” with her violent assailant who

repeatedly sexually assaulted her. The APD officer also asked her what panties she was wearing

and inaccurately told the victim that the sexual assaults were “family violence,” before refusing to

investigate further.

       86.     Also in 2018, on information and belief, APD closed a case investigating sexual

assault allegations by Jessica Ragsdill. In that case, APD obtained video footage confirming the

suspect had entered a hotel room with the victim while she was so intoxicated that she could not

stand. APD also had photographic evidence reflecting that the sexual assault was so violent that

Ragsdill was bleeding and bruised. But APD decided not to pursue the case regardless, and

“exceptionally cleared” the report of sexual assault.

       87.     In January 2018, on information and belief, Emily Borchardt was repeatedly and

violently sexually assaulted by a ring of sex traffickers who abducted her, locked her in a motel

room, and repeatedly threatened to kill her. After at least 10 hours, Borchardt finally escaped and

called APD. The first officer to respond rolled his eyes and was impatient. APD failed to collect

surveillance video or other physical evidence from the motel. The detective assigned to the case

told Borchardt’s mother that some of the events “sounded consensual.” The detective later

characterized the bruising on Borchardt’s neck where her assailants had strangled her as a

“hickey.” Eventually APD declined to pursue the investigation further.

       88.     On information and belief, during the years leading up to the attack on Doe, APD

officers routinely told sexual assault victims that their assaults “sounded consensual.”




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       89.     On information and belief, during the years leading up to the attack on Doe, APD

officers routinely characterized victims of sexual violence as “bad victims” if they knew their

attacker.

       90.     On information and belief, during the years leading up to the attack on Doe, APD

detectives assigned to investigate sexual violence often rolled their eyes at the victim’s allegations,

then dismissed them because the assailant claimed the encounter was consensual.

       91.     On information and belief, during the years leading up to the attack on Doe, APD

officers assigned to investigate sexual violence routinely criticized victims for their clothing, for

where they live, and for drinking alcohol.

       92.     On information and belief, during the years leading up to the attack on Doe, APD

officers have been accused of sexual assault but not prosecuted.

       93.     Because APD systemically refused to properly investigate sexual violence,

systemically covered up their failures, and maintained a culture that tolerated sexual violence even

by police officers, predators like Officer Dodds were emboldened and believed they could engage

in sexual violence with impunity.

                                      IV. CAUSES OF ACTION

   A. FOURTH      AND   FOURTEENTH AMENDMENT VIOLATIONS –              AS TO   DEFENDANT OFFICER
      DODDS

       94.     Plaintiff incorporates the preceding paragraphs as if alleged herein.

       95.     Austin Police Department Officer Dodds, while acting under color of law, violated

Plaintiff Doe’s substantive due process right to bodily integrity by penetrating her with his penis

without her consent.

       96.     Doe has suffered significant injuries as a result of Officer Dodds’ sexual assault.




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       97.      Austin Police Department Officer Dodds’ assault shocks the conscience. Without

any legitimate reason, Officer Dodds entered Plaintiff’s home at night, penetrated her without her

consent, and proceeded to intentionally terrify her by driving by her home in his APD cruiser and

calling her cell phone from blocked numbers.

       98.      Therefore, Austin Police Department Officer Dodds violated Doe’s clearly

established Fourteenth Amendment right to bodily integrity in such a way that clearly shocks the

conscience and directly and proximately caused Doe to suffer significant injuries.

       99.      In addition, Austin Police Department Officer Dodds, while acting under color of

law, entered Plaintiff Doe’s home without permission and used excessive force on Plaintiff Doe

by penetrating her with his penis without her consent in her own home.

       100.     Officer Dodds unlawfully entered Doe’s home and then seized Doe by using force

on her, trapping her in her bedroom, restraining her freedom to leave, and restraining her freedom

to decline his unwanted sexual conduct and penetration.

       101.     Austin Police Department Officer Dodds’ use of force was wholly excessive to any

conceivable need, objectively unreasonable in light of clearly established law, conscience shocking

and directly caused Plaintiff Doe to suffer serious injuries.

       102.     Therefore, Austin Police Department Officer Dodds violated Doe’s clearly

established Fourth Amendment rights.

       103.     Officer Dodds acted under color of law in the course of his violations of Plaintiff

Doe’s rights when he used his police investigation of her 911 call as pretext to find out where she

lived, her phone number, and whether she would be vulnerable to his assault; used his police

investigation as a pretext to contact her again and press unwanted sexual advances; used his police-

issued phone to call her repeatedly before the sexual assault; used his APD badge and uniform to




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gain access to her home; kept his uniform on—including his APD badge and APD issued gun—

while sexually assaulting Doe; intimidated her nephew with his authority as a police officer as well

as his uniform, badge, and service weapon; and terrified her with his service weapon and police

authority. Officer Dodds also drove by her home in his APD cruiser in order to further terrify and

intimidate her in an effort to prevent her from reporting the misconduct and prepare to attack her

again.

         104.     As a direct and proximate result of Austin Police Department Officers Dodds’

actions, Doe suffered and continues to suffer significant injuries.

         105.     Doe brings these claims pursuant to 42 U.S.C. § 1983.

    B. PUNITIVE/EXEMPLARY DAMAGES – AS TO DEFENDANT DODDS

         106.     Plaintiff incorporates the preceding paragraphs as if alleged herein.

         107.     Defendant’s conduct was egregious, reckless, and endangered countless

community members. Plaintiff seeks punitive damages as well to deter future similar violations of

constitutional rights.

    C. FOURTH AND FOURTEENTH AMENDMENT – FAILURE                         TO   TRAIN, SUPERVISE,   AND
       PROTECT AS TO DEFENDANT CITY OF AUSTIN

         108.     Plaintiff incorporates the preceding paragraphs as if alleged herein.

         109.     The City of Austin, had the following policies, practices, or customs in place when

APD Officer Dodds sexually assaulted Doe:

            a. Failure to train officers about preventing sexual harassment and sexual assault;

            b. Failure to supervise officers known or that should have been known to have

                  sexually harassed or sexually assaulted in the past;

            c. Failure to discipline officers for domestic violence or sexual assault in the past;




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             d. Wrongfully clearing complaints that officers and members of the public engaged in

                 sexual assault;

             e. Wrongfully failing to investigate complaints that officers and members of the

                 public engaged in sexual assault;

             f. Adopting a culture of tolerance for sexual violence and unjustified skepticism of

                 reports of sexual violence;

             g. Failure to adequately investigate officers’ history of sexual harassment or sexual

                 assault in the past;

             h. Failure to protect the public from known dangerous servants while giving them the

                 tools and authority to perpetrate attacks on innocent civilians with impunity; and

             i. Failure to investigate APD officers accused of sexual assault.

        110.     Each of the policies, practices, or customs delineated above was actually known,

constructively known, approved, and/or ratified by City of Austin and its policymaker for law

enforcement purposes, Chief of Police, Brian Manley, and was promulgated with deliberate

indifference to Doe’s Fourth and Fourteenth Amendment rights under the United States

Constitution. Moreover, the known and obvious consequence of these policies, practices, or

customs was that Austin Police Department officers would be placed in recurring situations where

constitutional violations similar to those inflicted on Doe would result. Accordingly, these policies

also made it highly predictable that the particular violations alleged here, all of which were under

color of law, would result.

        111.     Consequently, the policies and conduct delineated above were a moving force of

Plaintiff’s constitutional deprivations and injuries, and proximately caused severe damages to

Plaintiff.




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         112.     Plaintiff Doe brings this claim pursuant to 42 U.S.C. § 1983.

                                              V. DAMAGES

         113.     Plaintiff Doe seeks the following damages:

            a. Past and future medical expenses;

            b. Past and future economic damages, including (but not limited to) loss of earning
               capacity;

            c. Past and future physical pain and mental anguish;

            d. Past and future impairment;

            e. Past and future disfigurement;

            f. Punitive damages at to Defendant Dodds only;

            g. Loss of consortium; and,

            h. Attorneys’ fees pursuant to 42 U.S.C. § 1988.

                                           VI. JURY DEMAND

         114.     Pursuant to Federal Rule of Civil Procedure 48, Plaintiff hereby requests a jury

trial.

                                       VII. PRAYER FOR RELIEF

         115.     To right this injustice, Plaintiff requests the Court:

            a. Award compensatory damages against Defendants;

            b. Award exemplary damages against Defendant Dodds only;

            c. Award Plaintiff costs and fees, including but not limited to expert fees and
               attorneys’ fees, pursuant to 42 U.S.C. § 1988;

            d. Award pre-judgment and post-judgment interest at the highest rate allowable under
               the law; and,

            e. Award and grant such other just relief as the Court deems proper.

Dated: March 30, 2022.



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                                                           Respectfully submitted,


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                                CERTIFICATE OF SERVICE
        By my signature below I certify that a true and correct copy of this document has been filed
with the Court’s electronic case filing system. No other parties have appeared to be served via this
filing. Diligent efforts to serve this filing will be made in accordance with the Federal Rules of
Civil Procedure.


                                                             /s/ Jeff Edwards
                                                             Jeff Edwards




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